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LaMONICA HERBST & MANISCALCO, LLP                                    Relates to a Hearing on October 3, 2022
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                               Chapter 7

MYINT KYAW a/k/a JEFFREY WU,                                         Case No.: 8-20-72407-reg

                                    Debtor.
--------------------------------------------------------x

              STATEMENT IN CONNECTION WITH THE MEZZANINE LENDER’S
              SUPPLEMENTAL MOTION AMENDING THE PENDING MOTION TO
              CONVERT THE CHAPTER 7 CASE TO A CASE UNDER CHAPTER 11

TO THE HONORABLE ROBERT E. GROSSMAN,
UNITED STATES BANKRUPTCY JUDGE:

        Lori Lapin Jones, Esq., the Chapter 7 Trustee (“Trustee”) of the estate of Myint Kyaw a/k/a

Jeffrey Wu (“Debtor”), by her undersigned counsel, submits this statement in connection with the

supplemental motion (“Supplemental Motion”) of Landmark Portfolio Mezz LLC (“Landmark

Mezz”) amending Landmark Mezz’s pending motion to convert the Chapter 7 case to a case under

Chapter 11 (“Original Motion”), and respectfully represents as follows:

                                     PRELIMINARY STATEMENT

        By the Supplemental Motion, Landmark Mezz supplements its pending motion which

seeks conversion of the Debtor’s case to Chapter 11. In support of its Supplemental Motion,

Landmark Mezz addresses comments and concerns raised by the Court at the hearings conducted

on July 25, 2022 and August 22, 2022 by a superseding stipulation of settlement (“Form




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Stipulation”) 1 and a Creditor’s Proposed Plan of Reorganization (“Creditor’s Proposed Plan”) 2

which, among other things, do not provide for any releases of the Debtor or any insiders of the

Debtor.

         The Trustee previously concluded that creditors would receive payments far sooner under

a confirmed Chapter 11 plan than in a Chapter 7 liquidation and expressed a willingness to assist

in the confirmation of a Chapter 11 plan that gives the Debtor’s creditors the optimal outcomes

they seek. The Trustee continues to believe that the Debtor’s creditors fare better under a confirmed

Chapter 11 plan than in a Chapter 7 liquidation. However, the Debtor’s case should only be

converted if a Chapter 11 plan can contemporaneously be confirmed and promptly go effective.

Indeed, the Trustee supports conversion and providing Landmark Mezz with an opportunity to

confirm the Creditor’s Proposed Plan (as may be amended or supplemented) provided that certain

conditions are met, including that: (i) the Trustee has on hand sufficient cash to fully fund the

Creditor’s Proposed Plan, which includes receipt by the Trustee of the REIT Proceeds (as defined

below); and (ii) all impaired creditors have confirmed their support of confirmation of the

Creditor’s Proposed Plan and/or any objections have been resolved by agreement or Order of the

Court.

         Accordingly, the Trustee respectfully requests that conversion occur if and when the

Creditor’s Proposed Plan (as may be amended or supplemented) can be confirmed and promptly

go effective, which the Trustee believes can occur in the near future.




1
         Comments have not yet been provided to the Form Stipulation and the Trustee reserves all rights.
2
         Comments of the Trustee to the Creditor’s Proposed Plan were provided on an expedited basis prior to the
         filing of the Supplemental Motion, which comments were incorporated by Landmark Mezz. The Trustee may
         have additional comments to the Creditor’s Proposed Plan and reserves all rights.


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                                         BACKGROUND

       1.        By Order dated and entered July 6, 2022 (“Conversion Order”), the Court converted

the Debtor’s case from Chapter 11 to Chapter 7. See ECF No. 456.

       2.        Lori Lapin Jones, Esq. was appointed as interim Chapter 7 trustee of the Debtor’s

estate. See ECF No. 457. By operation of law, Lori Lapin Jones, Esq. became the permanent

Chapter 7 trustee of the Debtor’s estate.

       3.        By the Original Motion, Landmark Mezz seeks reconsideration of the Conversion

Order and conversion of the Debtor’s Chapter 7 case back to Chapter 11 or, in the alternative, a

stay pending appeal. See ECF No. 459. Creditors 41-60 Main Street LLC, Haymarket Capital,

LLC, Sanford Avenue Partner LLC, American Chengyi Investment Management Group, Inc.,

Crown Mansion, LLC and Chi-Ming Fan support the Original Motion. See ECF Nos. 462, 463,

464, 468, 479.

       4.        On July 18, 2022, a reservation of rights with respect to the Original Motion and

the Debtor’s proposed new plan and disclosure statement was filed on behalf of Bank of America,

N.A. (“BofA”). See ECF No. 474.

       5.        On July 25, 2022 and August 22, 2022, the Court conducted evidentiary hearings

on the Original Motion. See ECF Nos. 510, 520.

       6.        By motion dated September 16, 2022 (“Redemption Motion”), the Trustee seeks

entry of an Order authorizing and approving, inter alia, an initial redemption of certain limited

partnership units of GTJ Realty, LP (“GTJ”) representing the equivalent of 1,400,000 shares for

the sum of $16,800,000 (“REIT Proceeds”). See ECF Nos. 526, 533. Pursuant to an Order of the

Court, the Redemption Motion is returnable on October 3, 2022. See ECF No. 528. As reflected

in the Redemption Motion, GTJ required approximately 60 days from the date of the Redemption




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Motion (i.e., until November 15, 2022) to effectuate the initial redemption. 3

       7.      On September 20, 2022, the Supplemental Motion seeking conversion of the

Debtor’s case to Chapter 11 was filed with the Court. See ECF No. 529.

                              CHAPTER 7 TRUSTEE’S POSITION

       8.      Confirmation of a consensual Chapter 11 plan remains a superior result for the

Debtor’s creditors than a Chapter 7 liquidation for several reasons including that plan confirmation

results in waivers of distributions of over $200 million in filed claims, reductions of over $17

million of filed claims, and distributions far sooner than in a liquidation. Most importantly,

however, distributions to creditors pursuant to a consensual Chapter 11 plan will either be in full

or in agreed-to reduced amounts. By contrast, it is likely that creditors will receive inferior

distributions in Chapter 7, and any such distributions will not be in 2022 (and likely not in 2023).

Conversion without contemporaneous confirmation of a consensual Chapter 11 plan that promptly

can go effective, however, is not in the best interests of the estate or its creditors. Currently, to

ensure that the plan can confirm and promptly go effective, two important steps must be taken.

       9.      First, there should be sufficient cash to fully fund the Creditor’s Proposed Plan (as

may be amended or supplemented) before the Debtor’s case is converted to Chapter 11. The

sources of funding for the Creditor’s Proposed Plan are: (a) the REIT Proceeds; (b) a $3.3 million

cash contribution (which the Trustee is currently holding in the estate); and (c) cash on hand as of

the effective date. See ECF No. 529-5 at 4.01. To the extent the Court approves the relief requested

in the Redemption Motion, the Trustee anticipates that the redemption will occur by November

15, 2022. Thus, the Trustee should be in a position to confirm by mid-November 2022 (or before)

when she expects there will be sufficient cash to fund the Creditor’s Proposed Plan (as may be



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       Trustee’s counsel is informed that the redemption may occur sooner than 60 days.


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amended or supplemented). 4

        10.     Second, conversion should be delayed until all impaired creditors confirm their

support of the Creditor’s Proposed Plan and/or any objections have been resolved by agreement or

Order of the Court. Most of the Debtor’s creditors (who are impaired under the Creditor’s Proposed

Plan) supported conversion. BofA did not. See ECF No. 474. Under the Creditor’s Proposed Plan,

a condition precedent to the effective date is that either: (a) the Court has entered an Order

estimating the general unsecured claim of BofA at $0.00 for distribution in this case and no stay

of that order is in effect; or (b) the Court has entered an order confirming a Chapter 11 plan of

reorganization in the Queen Elizbeth Realty Corp. case. See ECF No. 529-5 at 6.02(d). No motion

to estimate the claim of BofA has been filed with the Court in this case, and there is a pending

Order to Show Cause why the Queen Elizbeth Realty Corp. case should not be dismissed or

converted to a case under Chapter 7 for cause. See Case No.: 20-73327, ECF No. 60. BofA seeks

dismissal. See id. at ECF No. 63. Conversion of the Debtor’s case without a resolution of the

treatment of BofA’s claim in this case is not in the best interests of the estate or its creditors.

        11.     The Trustee is hopeful that the remaining steps to confirmation and going effective

can be achieved within the next few weeks at which time conversion is the favored outcome. But

if the Creditor’s Proposed Plan (as may be supplemented or amended) cannot be confirmed and

promptly go effective, conversion of the case makes little sense and will only result in further

delay, increased administrative fees and expenses and procedural uncertainty.




4
        The Trustee is continuing to review numbers as time passes. The Trustee also notes that when she files the
        2021 estate tax return (which must be filed by October 15, 2022), she will have a firmer handle on the tax
        attributes available to set off gains on the redemption.


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                                        CONCLUSION

       12.     Confirmation of the Creditor’s Proposed Plan (as may be amended or

supplemented) results in a better outcome for the Debtor’s creditors than liquidation in a Chapter

7. However, the Debtor’s case should only be converted when that plan is ready to be confirmed

and can promptly go effective, which the Trustee believes is achievable.

Dated: September 29, 2022
       Wantagh, New York
                                     LaMONICA HERBST & MANISCALCO, LLP
                                     Counsel to Lori Lapin Jones, Esq., Chapter 7 Trustee

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